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 4
 5    Attorney for Defendant: EDGAR VEYTIA

 6
                         UNITED STATES DISTRICT COURT
 7
                         EASTERN DISTRICT OF NEW YORK
 8                     (HONORABLE CAROL BAGLEY AMON)
 9      UNITED STATES,                          CASE NO. 17-CR-00115-CBA
10                  Plaintiff,                  NOTICE OF WITHDRAWAL
11                                              OF DOCUMENT
        vs.
12      EDGAR VEYTIA,
13                 Defendant.
14
15
16
            The defendant Edgar Veytia moves to withdraw Document
17    number 124, the Defendant’s 2255 Amended Petition, Filed under wrong
      category in ECF.
18          Undersigned counsel will correct the above-mentioned error and asks that
19    Document 124, be removed from Pacer.

20
      Dated: August 12, 2021               Respectfully submitted,
21
22
                                           /s/ John D. Kirby
23                                         JOHN D. KIRBY
                                           Attorney for Defendant
24
                                           Karen Gonzalez
25
26
27
28                                17-CR-00115-CBA 1
     Case 1:17-cr-00115-CBA Document 125 Filed 08/12/21 Page 2 of 2 PageID #: 884




 1
      JOHN D. KIRBY (CSB 149496)
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 4
 5
      Counsel for Karen Gonzalez
 6
                     THE UNITED STATES DISTRICT COURT
 7               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 8
      UNITED STATES,                                ) Case No. 20-CR-03388-LAB
 9             Plaintiff,                           )
          vs.                                       )
10
      KAREN GONZALEZ,                               ) PROOF OF SERVICE
11             Defendant,                           )
                                                    )
12                                                  )
13                                                  )
                                                    )
14                                                  )
      I, the undersigned, hereby declare as follows:
15
                  1. I am over 18 years of age, a resident of the County of San Diego, State
16                of California, counsel for the Defendant and that my address is 401West a
                  Street, Suite 1150, San Diego, CA 92101;
17
                 2. That today I served the Notice of Withdrawal of Document on opposing counsel
18               by causing to be delivered by e-filing to the Office of the Clerk; and that I mailed a
                 copy to Defendant.
19       I declare under penalty of perjury that the foregoing is true and correct.
20    Dated: August 12, 2021                                      /S/ John D. Kirby
21                                                         John D. Kirby

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28                                      17-CR-00115-CBA 2
